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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
UNITED STATES OF AMERICA,                                              :
                                                                       :
                  -v-                                                  :   20-CR-515 (JMF)
                                                                       :
ALAN TEJEDA-ISABEL,                                                    :      ORDER
                                                                       :
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- X

JESSE M. FURMAN, United States District Judge:

        The arraignment/pre-trial conference scheduled is hereby rescheduled to occur (this time

with a Spanish interpreter) as a video/teleconference using the CourtCall platform on October

26, 2020, at 3:00 p.m. As requested, defense counsel will be given an opportunity to speak with

the Defendant by telephone for fifteen minutes before the sentencing proceeding begins (i.e., at

2:45 p.m.); defense counsel should make sure to answer the telephone number that was

previously provided to Chambers at that time.

        To optimize the quality of the video feed, only the Court, the Defendant, defense counsel,

and counsel for the Government will appear by video for the proceeding; all others will

participate by telephone. Due to the limited capacity of the CourtCall system, only one counsel

per party may participate. Co-counsel, members of the press, and the public may access the

audio feed of the conference by calling 855-268-7844 and using access code 32091812# and PIN

9921299#.

        In advance of the conference, Chambers will email the parties with further information on

how to access the conference. Those participating by video will be provided a link to be pasted

into their browser. The link is non-transferrable and can be used by only one person;
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further, it should be used only at the time of the conference because accessing it earlier may

cause disruptions to other proceedings.

       To optimize use of the CourtCall technology, all those participating by video should:

           1. Use the most recent version of Firefox, Chrome, or Safari as the web browser. Do
              not use Internet Explorer.

           2. Use hard-wired internet or WiFi. If using WiFi, the device should be positioned
              as close to the Wi-Fi router as possible to ensure a strong signal. (Weak signals
              may cause delays or dropped feeds.)

           3. Minimize the number of others using the same WiFi router during the conference.

Further, all participants must identify themselves every time they speak, spell any proper names

for the court reporter, and take care not to interrupt or speak over one another. Finally, all of

those accessing the conference — whether in listen-only mode or otherwise — are reminded that

recording or rebroadcasting of the proceeding is prohibited by law.

       If CourtCall does not work well enough and the Court decides to transition to its

teleconference line, counsel should call 888-363-4749 and use access code 5421540#. (Members

of the press and public may call the same number, but will not be permitted to speak during the

conference.) In that event, and in accordance with the Court’s Emergency Individual Rules and

Practices in Light of COVID-19, available at https://www.nysd.uscourts.gov/hon-jesse-m-

furman, counsel should adhere to the following rules and guidelines during the hearing:

           1. Each party should designate a single lawyer to speak on its behalf (including
              when noting the appearances of other counsel on the telephone).

           2. Counsel should use a landline whenever possible, should use a headset instead of
              a speakerphone, and must mute themselves whenever they are not speaking to
              eliminate background noise. In addition, counsel should not use voice-activated
              systems that do not allow the user to know when someone else is trying to speak
              at the same time.

           3. To facilitate an orderly teleconference and the creation of an accurate transcript,
              counsel are required to identify themselves every time they speak. Counsel



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               should spell any proper names for the court reporter. Counsel should also take
               special care not to interrupt or speak over one another.

           4. If there is a beep or chime indicating that a new caller has joined while counsel is
              speaking, counsel should pause to allow the Court to ascertain the identity of the
              new participant and confirm that the court reporter has not been dropped from the
              call.

       If possible, defense counsel shall discuss the attached Waiver form with Defendant prior

to the proceeding. If Defendant consents, and is able to sign the form (either personally or, in

accordance with Standing Order 20-MC-174 of March 27, 2020, by defense counsel), defense

counsel shall file the executed form at least 24 hours prior to the proceeding. In the event the

Defendant consents, but counsel is unable to obtain or affix the Defendant’s signature on the

form, the Court will conduct an inquiry at the outset of the proceeding to determine whether it is

appropriate for the Court to add the Defendant’s signature to the form.

       To the extent that there are any documents relevant to the proceeding (e.g., proposed

orders or documents regarding restitution, forfeiture, or removal), counsel should submit them to

the Court (by email or on ECF, as appropriate) at least at least 24 hours prior to the

proceeding. To the extent any documents require the Defendant’s signature, defense counsel

should endeavor to get them signed in advance of the proceeding as set forth above; if defense

counsel is unable to do so, the Court will conduct an inquiry during the proceeding to determine

whether it is appropriate for the Court to add the Defendant’s signature.



       SO ORDERED.

Dated: October 21, 2020                            __________________________________
       New York, New York                                   JESSE M. FURMAN
                                                          United States District Judge




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                                                                                              March 31, 2020


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X
UNITED STATES OF AMERICA,                                                     CONSENT TO PROCEED BY VIDEO OR
                                                                                     TELECONFERENCE
                             -v-
                                                                                       -CR-   (JMF)
                                   ,
                                       Defendant(s).
-----------------------------------------------------------------X

Defendant ______________________________________ hereby voluntarily consents to
participate in the following proceeding via video or teleconferencing:

___      Initial Appearance/Appointment of Counsel

___      Arraignment (If on Felony Information, Defendant Must Sign Separate Waiver of
         Indictment Form)

___      Preliminary Hearing on Felony Complaint

___      Bail/Revocation/Detention Hearing

___      Status and/or Scheduling Conference

___      Misdemeanor Plea/Trial/Sentence



_______________________________                                      _________________________________
Defendant’s Signature                                                Defense Counsel’s Signature
(Judge may obtain verbal consent on
Record and Sign for Defendant)

_____________________________                                        _________________________________
Print Defendant’s Name                                               Print Defense Counsel’s Name


This proceeding was conducted by reliable video or teleconferencing technology.


___________________                                                  _________________________________
Date                                                                          U.S. District Judge
